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                    Exhibit D
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     K2J9SEC1

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    SECURITIES AND EXCHANGE
     COMMISSION,
4
                      Plaintiff,
5
                 v.                                19 CV 9439 (PKC)
6
     TELEGRAM GROUP, INC., et al.,
7
                      Defendants.
8
     ------------------------------x
9                                                  New York, N.Y.
                                                   February 19, 2020
10                                                 10:01 a.m.

11   Before:

12                           HON. P. KEVIN CASTEL,

13                                                 District Judge

14                                 APPEARANCES

15   SECURITIES AND EXCHANGE COMMISSION
          Attorneys for Plaintiff
16   BY: KEVIN McGRATH
          JORGE TENREIRO
17        ALISON R. LEVINE
          LADAN F. STEWART
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19   SKADDEN, ARPS, SLATE, MEAGHER & FLOM
          Attorneys for Defendants
20   BY: ALEXANDER DRYLEWSKI
          SCOTT MUSOFF
21        CHRISTOPHER MALLOY
          THANIA CHARMANI
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1    know you're relying on of an evidentiary nature?

2              MR. DRYLEWSKI:     No, your Honor.

3              THE COURT:    So, the evidentiary record in this case is

4    closed.

5              MR. DRYLEWSKI:     That's correct.

6              THE COURT:    All right.    A few observations.      There

7    are, of course, a number of motions pending.         There is the

8    12(f) motion.    There are the parties' various motions for

9    summary judgment.     And, of course, the plaintiffs' motion for a

10   preliminary injunction.      I'm going to hear argument from each

11   of you this morning.     I wanted to make a couple of preliminary

12   observations because it may help and guide your discussion

13   here.

14             In terms of first principles, the Howey Test has been

15   with us for over 70 years, longer than many of the people at

16   the first two tables have been alive, and cryptocurrency has

17   been around for about twelve years.

18             One of the issues that is not presented in this case

19   and that no one has argued that cryptocurrencies are inherently

20   securities.    That's not what this case is about.        In fact,

21   there would be no basis under the Howey Test for such an

22   argument.

23             I've read carefully the amicus submissions of our two

24   amicus curiae that I have already approved, or amici I should

25   say, and that is not what this Court will be deciding.


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1               Howey is easy to state, maybe not always easy to

2    apply, but an investment contract is a security within the

3    meaning of the Securities Act of '33 if it's a contract,

4    transaction or scheme whereby a person:        One, invests money;

5    two, in a common enterprise; three, is led to expect profits;

6    and four -- well Howey says solely from the efforts of the

7    promoter or third party but as time has gone on that "solely"

8    language has been modified and it's not a literal limitation.

9    It's a primarily promoted or -- that seems to be the most

10   prevalent matter in which it is utilized.

11              And, of course, Howey is a flexible test.        It focuses

12   on economic realities, not on labels.        And, of course, the

13   lawyers in this case are well acquainted that the label point,

14   that labels don't control, actually works in both directions.

15   So you have the Forman case where stock in a corporation was

16   held not to be a security because it was essentially ownership

17   of a cooperative apartment.      So the labels do not get anybody

18   out of this one way or the other.

19              Disclaimers do not control.      And so one can look at a

20   purchase agreement and there could be a

21   helpful-to-the-defendants statement or an unhelpful statement

22   to the defendant in the purchase agreement or elsewhere and

23   it's going to be the economic realities of the transaction that

24   control.

25              The most notable difference in viewpoint as I see it


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